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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION

UNITED STATES OF AMERICA                )
                                        )
      v.                                ) CASE NO. 2:18-CR-249-WKW
                                        )
NICOLE D. SCRUGGS                       )

                                    ORDER

      Defendant Nicole D. Scruggs’s unopposed motion to continue sentencing

(Doc. # 122) is GRANTED. Defendant’s sentencing hearing is CONTINUED

from May 2, 2019, to May 23, 2019, at 11:30 a.m. The Clerk of the Court is

DIRECTED to provide a court reporter for the hearing. If Defendant is in custody,

the United States Marshal is DIRECTED to arrange for Defendant’s presence at

the hearing.

      DONE this 1st day of May, 2019.

                                          /s/ W. Keith Watkins
                                     UNITED STATES DISTRICT JUDGE
